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                                     UNITED STATES DISTRICT COURT


                                    EASTERN DISTRICT OF LOUISIANA


TYLANDO PIERRE WARR                                                    CIVIL ACTION NO


VERSUS                                                                 JUDGE


 ROY LEE STONE, HORNADY                                                MAGISTRATE JUDGE
TRANSPORTATION, LLC, AND
HUDSON INSURANCE COMPANY



 STATE OF LOUISIANA


PARISH OF ORLEANS


                                                   AFFIDAVIT


             BEFORE ME, the undersigned authority, appeared


                                           DAVID M. SCHROETER


who, after being duly sworn, based on personal knowledge did state as follows:


1.           I am counsel for defendants, Roy Lee Stone ("Mr. Stone"), Hornady Transportation, L.L.C.


             ("Hornady"), and Hudson Insurance Company ("Hudson") (collectively the "Defendants")


2.           On May 3, 2019, this civil action was filed by plaintiff, Tylando Pierre Warr ("Plaintiff'), in


             the 24th Judicial District Court for the Parish of Jefferson, State of Louisiana, bearing case

             number 794867, Division "L." It is alleged that on May 17, 2018, Plaintiff was involved in a


             collision with a tractor trailer owned by Hornady, operated by Mr. Stone, and insured by


             Hudson.    Plaintiff seeks to recover damages for personal injuries allegedly sustained as a


             result of the accident. See generally, Petition for Damages ("Petition").


3.           The Petition and Citation were served on Mr. Stone through the Louisiana Long Arm


             Statute on May 24, 2019.




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                                                                                         EXHIBIT A
                                                                                         EXHIBIT A
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4.           The Petition for Damages and Citation were served on Hornady through its registered agent


             on May 24, 2019, and again through the Louisiana Long Arm Statute on May 29, 2019.


5.           The Petition and Citation were served on Hudson through the Louisiana Secretary of State


             on June 6, 2019.


6.           The Petition fails to describe with any degree of specificity the extent of the alleged   injuries

             or damages sustained by Plaintiff. Rather, it is only generally alleged Plaintiff sustained    (or


             will sustain) past and future physical pain and suffering; past and future medical expenses;


             past and future mental anguish; past and future loss of enjoyment of life; past and future loss


             of consortium; past and future loss of companionship; past and future lost wages; and past


             and future impairment of wage earning capacity. See Petition for Damages at ^flO.


7.           By correspondence dated June 20, 2019, Defendants first received notice that the amount in


             controversy exceeds $75,000, exclusive of interest and costs, in this case involving      diverse


             parties. Specifically, in documents produced on Plaintiffs behalf, Defendants received


             certain medical records from Plaintiffs treating orthopedic surgeon, Dr. Kevin McCarthy,


             which indicate that Plaintiff is being treated for a "large L5-S1 herniated nucleus pulposus


             with right lower extremity radiculopathy," for which Plaintiff has undergone two separate


             lumbar epidural steroid injections; and for which, Dr. McCarthy has recommended


             surgery—specifically, a bilateral microdiscectomy at the L4-S1 level.         See Exhibit "B,"

             Plaintiffs Select Medical Records.


8.           While Defendants deny liability and damages, quantum research reveals that actions


             involving injuries and treatment similar to those alleged by Plaintiff place the amount in


             controversy in excess of $75,000, exclusive of interest and costs. Lockett v. U.V. Ins. Risk


             retention, 15-166 (La. App. 5th Cir. 11/19/2015) (awarding $175,000 in $175,000 in general

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             damages for herniated discs in cervical and lumbar spine, and lumbar microsurgical


             discectomy); 180 So.3d 557; Middle v. Geico General Insurance Company, No. 650456 on the


             docket of the 19th Judicial District Court for the Parish of East Baton Rouge, as summarized

             at 2018 WL 7141267 (awarding $119,380 in damages for multiple disc bulges with radicular


             pain at L5-S1 region which required a transforaminal epidural steroid injection); Zalenski v.


             Bayou Liberty Water Association, et ai, No. 2010-11116 on the docket of the 22nd Judicial

             District Court for the Parish of St. Tammany, as summarized at 2013 WL 7792185 (awarding


             $188,427 in damages for herniated lumbar disc at L4-5 with nerve root compression and


             facet arthrosis, lower back pain and radiculopathy); Bruno v. State Farm Mut. Auto Ins., No.


             2004-0096 on the docket of the 15th Judicial District Court for the Parish of Lafayette, as

             summarized at 2005 WL 2874720 (awarding $90,000 in general damages for bilateral joint


             arthropathy at L4-5 and constrictions at L4-5 and L5-S1 for which plaintiff underwent a


             lumbar steroid injection)


9.           It was not until Defendants received correspondence from Plaintiffs counsel dated June 20,


             2019, along with the records of Plaintiffs treating orthopedic surgeon, that they were first


             put on notice that the amount in controversy in the action filed by Plaintiff exceeds $75,000,


             exclusive of interest and costs.


10.          The foregoing is true and correct to the best of my knowledge.




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                                                         DAVID M. SCHROETER


SWORN AND SUBSCRIBED


BEFORE ME, THIS 1(0                      DAY

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                   CAS,E ANN z,MMERMAN DAVIDSON
                            notary public
  •           'J     '-SBA NO. 33445/Nolary No. 143139
                     MY COMMISSION IS FOR LIFE.




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